    Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 1 of 45 Page ID #:6402



                                       Tl::::CHNICAL SERVICES CONTRACT

                  On this 04 May 2015. between
          l . Gateway to Mena for logistic services, registered 200138167, with registered office at 43 Abdul
          Hamid Sharaf St. P 0 . Box 950601 Amman 11195 Jordan, hereinafter referred 10 as "Mandator" as
          one of the parties,
          and
          2. Tulcan Pozo Jose Miguel, born on 13.10. 1961 , having passport A 5501106 issued by ECU, with
          permanent address at Ecuador. Guayaquil str. Sauces 5, MZ 240. Villa 6, hereinafter referred to as
          "Contractor" as the other party,

                  I.     The Mandator requires from the Contractor the services of Mechanical Technician,
          Electrical Technician, Radio electrician Technician Cabling (Grid connection) Technician for
          installation, maintenance and repair of new renewable (wind) power stalion (the " Services").

                 2.     The Contractor, acting as independent contractor, undertakes the provision of the
          services under the conditions of this agreement.

                 3.     The place of the Services is Middle East & North Africa.

                  4.     The contract is valid for 90 days period with posible extencion fo r another 90 days
          Starting date of the Services is the date of Contractor' s arrival at 10.05.2015

                  5.      The Contractor undertakes to execute any and all of his obligations under this
          agreement with due diligence, at the highest professional level, with skill and to the best of his
          ability, while maintaining a high professional standard, all subject and in accordance with the
          Mandator' s needs, instructions and supervision.
                          While delivering the Services, the Contractor shall be full y under the operational
          control and shall strictly follow the instructions of an appointed Supervisor of the Mandator who
          will be solely responsible for their supervision, daily direction and control.
                          Services shall be delivered on 24/7 hasis.

                 6.      The Mandator undenakes to provide the Contractor with all the materials,
          consumables, etc., concerning the provision of the Services. as well as any information, required by
          the Contractor, necessary for the proper performance of his duties.
                         The Manda!or undertakes to position the ContTaclor for execution of the Services in
          operational and equipped maintenance warehouses in a zone free from hostile activities.
                         The Mandator undertakes to provide the Contractor:
                 - with full hospitality of minimum 3 star accommodation on room and board basis;
                 - life insurance:
                     health insurance;
                         Insurances could be dealt by the Contractor and expenses reimbursed by the
          Mandator, based on preliminary approval of the insurance policy and cost

                 7.     Remuneration of the Contractor for due delivery of his Services is agreed to be 10
          000 $ monthly.
                         As a guarantee for the due performance of this agreement a 15% deposit is to be
          withhold from each payment by the Mandator and shall be payed upon the Contrnctor' s obligations
          fulfillment and termination of this agreement.
                         Payment of the remuneration is monthly, between the 1st and the 5th of each month




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 2 of 45 Page ID #:6403



     in cash against receipt or by wire transfer to the following bank account: Banco PlCHLNCHA,
     acc.N 5724330400 code AHORROS
                        Each party shall be responsible for its own taxes, social security payments and/or
     banking charges, etc. , in relation to this agreement.

             8.      The Contractor fully indemnifies the Mandator for any and all damages to health,
     life, profits, equipment and personal belongings, given the life and health insurance policies are
     validly issued and paid for. This indemnification stretches to the heirs of the Contractor. In case the
     heirs claim against the Mandator any payments for compensation, damage etc. , the Mandator is
     enlitle<l lo a compensation lump sum against the Contractor's properly/inheritance lo lhe amount of
     the claims.

             9.         Independent Contractor:        Contractor acknowledges that he s ha ll perform his
     obligations hereunder as an independent contractor and not as an employee nor agent of the
     Mandator Contractor further acknowledge that he is not on Mandator's payroJl and social security
     or tax withholding rolls.

              10.       This contract is terminated:
                    -   upon its term expiration;
                    -   by unilateral notification by the Mandat:or in case the ContTactor fai ls to provide the
                        required quality of Services - in such case the performance deposit of the Contractor
                        serves as a compensation to the Mandator.

              11. All disputes that may arise in connection with the performance of the present contract
     shall be settled in the way of agreement. If this proves impossible all disputes and disagreements
     shall be governed by and construed in accordance with Serbian Law by the couns in Belgrade.

     This Agreement has been signed in two uniform copies, for each of the Pa1ties.


     For and on behalf of the Mandator.                                 Contractor:


     Name: Banari Sergiu                                              Name: Tulcan Pozo Jose
                                                                      Miguel

     Signature: ............................... .                      Signature: ... ....... .. ... .... ............ .


     For and on behalf of the Mandator:                       Contractor:




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 3 of 45 Page ID #:6404




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            729

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

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                           Ghanem_Sentencing_00000984
    Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 4 of 45 Page ID #:6405


   From:           Alexei Alexei <office.hartford@gmail.com>
   Sent:           Saturday, June 20, 2015 3 :3 8 PM
   To:             Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:        new docs exel
   Attach:         maintenance team T\11-24 salary 3 moths.xlsx: MlG-23 salary 3 moths.xlsx; Mig-25
                   salary 3 moths.xlsx ; School salary 6 months.xlsx



   Dearrami
   sorry 1 send it so late but i my wife was ill
   now is much better
   Please see attached files
   Also I wait your decision about Borys He was calling me every day
   BR




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   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 5 of 45 Page ID #:6406



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   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 6 of 45 Page ID #:6407



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   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 9 of 45 Page ID #:6410



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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 10 of 45 Page ID #:6411




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT        730

                                               DATE                                IDEN.

                                               DATE                                EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




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   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 11 of 45 Page ID #:6412


   From:                           Rami Ghanem <ramithe@gmail.com>
   Sent:                           Monday, Jul y 6 , 2015 7:08 AM:
   To:                             ILDEFONSO MARTINEZ-PARDO <imarpar_74@hotmail. com>
   Cc:                             mdiez2009@gmail.com
   Subject:                        RE: Job offer




   My friends We are still looking for an Fl pilot, please let me know if any of you
   interested or now any other pilot could be interested.

   Thanks




   BIIWNIIJJ ~l# .l!IB.NL                                              /Ci'l'M/
   Egypt Office
   Complex 133, Building 7, Apartment 32
   Al Rehab City, Cairo Egypt
   lternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 962 6 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com or rami@caravaname.com
   US Telephone: 772 675-4363 Skype Address: caravaname

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                           Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                 Before you speak »Listen
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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 12 of 45 Page ID #:6413




                                                 That's Life ...



From: ILDEFONSO MARTINEZ-PARDO [mailto:imarpar_74@hotmail.com]
Sent: Wednesday, May 6, 2015 8:37 PM
To: ramithe@gmail.com
Cc: mdiez2009@gmail.com
Subject: Job offer

DearRami,

Find attached down my close friend. He was the one 1 told you in my last mail. He is a great pilot with much
more experience than me. Please, if you are still looking for pilots, send him a mail. Ile is waiting for your
reply.

Best regards.

-------- Original Message --------
Subject: Fwd: F-1 pilots
From: M Diez <mdiez2009@gmail.com>
To: imarpar 74(@hotmail.com
CC:

---------- Mensaje reenviado ----------
De: "M Diez" <mdiez2009@gmail.com>
Fecha: 02/05/2015 11 :32
Asunto: F-1 pilots
Para: <ramithe@gmail.com>
Cc:

Good morning Rami,

Idelfonso passed me information about the Mirage F-1 pilots requirements.
Firstly, I am interested in the Fl pilot position . but would need to know more information to be able to organize
my current job.
I have many years of experience as a fighter pilot not only with Mirage Fl, (1000 hrs), but also with F-5 and F-
18 Hornet.

Hope to hear from you soon,

.Mariano Diez
mdi ez2009@gmai I.com




                                                                                                Ghanem-00072443
                                          Ghanem_Sentencing_00000993
Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 13 of 45 Page ID #:6414




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            731

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                            Ghanem_Sentencing_00000994
   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 14 of 45 Page ID #:6415


   F rom:      Bill G1igor <office.gb.defence@gmail.com>
   Sent:       Sunday, August 9, 2015 7:10 AM
   To:         Rami Ghanem <Ramithe@gmail .com>
   Subject:    L-39.1 Pilot
   Attach:     L-39.xlsx; Nikitin.JPG; Galenko.JPG; ITacnopT J13Maw.1os.JPG: img439.jpg; ITacrropT
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00076896.pdf                                                                             Ghanem-00072443
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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 15 of 45 Page ID #:6416




                       name                   Function       Documents has been sent sent
        Galenko Yuriy               PILOT                  PASSPORT & SERTIFICATION




        Izmaylov Ivan               TECHNICIANE            PASSPORT & SERTIFICATION
        Kaidash Ihor                TECHNICIANE            PASSPORT & SERTIFICATION
        Nikitin Volodymyr           TECHNICIANE            PASSPORT & SERTIFICATION
        Arzhakovskyi Sergii         TECHNICIANE            PASSPORT & SERTIFICATION




    00076897                                                  Ghanem-000072443


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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 16 of 45 Page ID #:6417




             Passport No.             registration          STATUS
 EP 544955                  Ukraine                  Confirmed




 ET 709099                  Ukraine                  Confirmed
 068385 EP                  Ukraine                  Confirmed
 ET 003203                  Ukraine                  Confirmed
 EA 601552                  Ukraine                  Confirmed




      00076897                                                       Ghanem-000072443


                                Ghanem_Sentencing_00000997
Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 17 of 45 Page ID #:6418

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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 18 of 45 Page ID #:6419

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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 19 of 45 Page ID #:6420




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 20 of 45 Page ID #:6421




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                             00076902                                                                                                                                               Ghanem-00072443
Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 22 of 45 Page ID #:6423




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT       732

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                            Ghanem_Sentencing_00001003
   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 23 of 45 Page ID #:6424


   From:       Alexei Alexei <office.hartford@gmail.com>
   Sent:       Wednesday, September 9, 2015 7:35 AM
   To:         Rami Ghanem <ramithe@!:,'1T1ail.com>
   Subject:    1\11-24 crew redact
   Attach:     Mi-24.xlsx; rracrropT.docx; img204.jpg; ITunoT onepaTopjpg; TilrnOT.jpg; 001.jpg;
               IMAG1823.jpg; pass G Chemenko.j pg; JMG_20150729_ 184747.j pg; Eopraqb.jpg




00075479.pdf                                                                               Ghanem-00072443
                                     Ghanem_Sentencing_00001004
Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 24 of 45 Page ID #:6425




                   name                        Function     Documents has been sent sent
        Yermolychev Oleh          1st PILOT               PASSPORT & SERTIFICATION

        Aleksyeyev Andrian        CO- PILOT               PASSPORT & SERTIFICATION

        Gordiienko Volodymyr      Flight engineer         PASSPORT & SERTIFICATION

        Zhytnyk Oleksandr         1-st Pilot              PASSPORT & SERTIFICATION

        Chernenko Glib            CO- PILOT               PASSPORT & SERTIFICATION

        But Stanislav             Flight engineer         PASSPORT & SERTIFICATION

        Kovaleko Grygorii         Technician Radio        PASSPORT & SERTIFICATION

        Skrypnyk Sergii           Technician Engine       PASSPORT & SERTIFICATION

        Shumeiko Volodymyr        Technician Weapon       PASSPORT & SERTIFICATION




    00075480                                                  Ghanem-00072443


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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 25 of 45 Page ID #:6426




             Passport No.             registration          STATUS
 EE 307751                  Ukraine                  Confirmed
 EE 139005                  Ukraine                  Confirmed
 399795 ES                  Ukraine                  Confirmed
 829213 AK                  Ukraine                  Confirmed
 EP 772822                  Ukraine                  Confirmed
 EH 315640                  Ukraine                  Confirmed
 EK 521418                  Ukraine                  Confirmed
 EH 455206                  Ukraine                  Confirmed
 673751 ES                  Ukraine                  Confirmed




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 26 of 45 Page ID #:6427




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 27 of 45 Page ID #:6428




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 28 of 45 Page ID #:6429




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 29 of 45 Page ID #:6430




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 30 of 45 Page ID #:6431




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 31 of 45 Page ID #:6432




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 32 of 45 Page ID #:6433




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 33 of 45 Page ID #:6434




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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 34 of 45 Page ID #:6435
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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 35 of 45 Page ID #:6436




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            733

                                               DATE                                 IDEN.

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                                               BY
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   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 36 of 45 Page ID #:6437


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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 37 of 45 Page ID #:6438




                                            José Manuel Lopes Horta
                                                      C   u    r   r   i   c   u   l   u   m
                        Personal Information

    Address             Monte Lemos Lote 1J, 8600-117 Lsgos-Luz, Portugal
    Mobil               + 351 96 0007370
    E-Mail              jhorta@yahoo.com
    Birthday            16 April 1967




                        Training

    09/2006 – 05/2008   Flight Training at AFT in Exeter, Airline Transport Pilot theoretical
                        examinations, Bristol Ground School, Bristol (Great Britain)
                        Certificate: JAA Airline Transport Pilot License (theory)
    03/1995 – 03/1996   Crew Resource Management, Aviation Consulting Services, San Carlos
                        (USA) Certificate: CRM Diploma

    03/1995 – 03/1996   NFWS Tactical training academy, techniques for air-to-air and air-to-
                        ground missions. Developed aerial dogfight tactics using the concept of
                        Dissimilar Air Combat Training (DACT).



                        Flight/Work Experience

    12/2008 – present   Captain, DO28-G92 Line pilot with scheduled parachute and cargo
                        operations, DO28 Flugcharter GmbH, Bad Sassendorf (Germany)

    05/2001 – 10/2008   Competition Acrobatic Pilot (Unlimited Category) Sukhoi 31, Yak-52.

    03/1986 – 08/2005   Naval Flight Officer, Flying A-4 assigned to Squadron VC-13 to 1990. Then
                        assigned to Squadron VF-11 flying the F-14. Participated in a test pilot
                        program in 2001 flying the Mirage F1 during which over 125 sorties flown ,
                        involving 100 flight hours. Discharged in 2005 as O -3.



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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 38 of 45 Page ID #:6439




                      Qualifications

                      Licenses
                      FAA ATP IR
                      EASA CPL(A) / IR(A) (ATPL frozen)
                      MEP (Land), Dornier TR MET (Land)
                      ATPL (Theory completed)


                      Flight Hours

                      6340 h Total
                      1600 h IFR
                      2293 h SEP/T
                      3130 h Dornier 28/G92
                      4047 h MEP/T
                      3737 h Tailwheel
                      3459 h Turbine
                      Landings: 11,876

                      Aircrafts Flown

                      T-45, A-4, F-14, Mirage F1, Grob 115C, DA-20, DA-42, 7ECA, 7GCBC, Pitts
                      S-2B/C, Su-31, Su-26, Yak52, Extra 300, C208, Dornier 28-G92, TBM700C2.

                      Languages

                      English (fluent)
                      Portuguese (fluent)
                      Spanish (advanced knowledge)
                      German (advanced knowledge)

                      IT-Computer skills

                      Microsoft Office (Word, Excel, PowerPoint)DOS, IOs X

                      Hobbies

                      Football (Soccer)
                      Hockey
                      Karate, Chanbara




                                                                                      2|Seite

    00072568                                                                 Ghanem-00072443


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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 39 of 45 Page ID #:6440




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            734

                                               DATE                                 IDEN.

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                                               BY
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                                               AO 386




                            Ghanem_Sentencing_00001020
Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 40 of 45 Page ID #:6441




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                                       My man is in Nairobi and they
                                       are meeting today evening
                                       around 6pm, will give you a
                                       dP.finitP. ~n!'.wer hv 8nm tonioht



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                    Pilot instructor for MiG 25
                    Pilot Instructor for MiG 23
                    Maintenance team for MiG 25
                    Maintenance team for MiG 23
                    Flight Engineer for An-32 must
                    speak English
                                                                                  0:54


                    the right one is              o:58



                    operational and instructor pilot ~
                    for 25 and 23 maintenance team
                    for 23 only flight Engeneer for
                    an32 must speak English
                                                                                   0:58



                                          Cal'I me please                          11:s2



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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 41 of 45 Page ID #:6442




                                               CASE NO.     CR 15-0704 (A)-SJO

                                                        UNITED STATES OF AMERICA
                                                 VS.       GHANEM

                                               PLAINTIFF=S EXHIBIT            735

                                               DATE                                 IDEN.

                                               DATE                                 EVID.

                                               BY
                                                               DEPUTY CLERK
                                               AO 386




                            Ghanem_Sentencing_00001022
Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 42 of 45 Page ID #:6443




                         Thank you I already have
                         the information ... How was
                         your flight? Good
                         achievement?


                        Hello Sir. The flight was
                        good, main target
                        destroyed in Sirte. Just
                        one bomb. No possible to
                        release more due to the
                        cartridges. Second one
                        with guns, pretty good




         ®
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Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 43 of 45 Page ID #:6444




                                                CASE NO.      CR 15-0704   (A)-SJO

                                                         UNITED STATES OF AMERICA

                                                 VS.        GHANEM

                                               PLAINTIFF'S EXHIBIT             736

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                            Ghanem_Sentencing_00001024
   Case 2:15-cr-00704-SJO Document 431-11 Filed 05/13/19 Page 44 of 45 Page ID #:6445

    From:                                 Rami Ghanem <ramithe@gmail.com>
    Sent:                                 Monday, March 30, 2015 6:59 AM
    To:                                   Tomer Avnon <tomer@tarideal.com>
    Subject:                              RE:MI24



   Ok what type of arms does it include?


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   Egypt Office
   Complex 133, Building 7, Apartment 32
   AI Rehab City, Cairo Egypt
   Iternational #: +37282432246
   Telephone# 00201127999552
   Jordan Office

   Tel: 9626 5685624
   Fax: 962 6 5685625
   ramithe@gmail.com                                       or ranli((l,caravanallle.com
   US Telephone: 772 6754363                                       Skypc Address: ~;H:m:;m.;ml~

     The information       contained   in this   messaee   is for the Intended   addressee   onlv 4100 may contain    confidential   and/or    prllJilq:ed    information   •• f you    ,ne   not the Intended    addressee.   this messa£e   will    self   destruct   so
    notify   the sender;    do not copy or dts.tribute     this messaee   or dISClose its contents   to anyOne.   Anv vleW\ or opinions       expressed      In thls meS5ace are those         of the author     and do not nece$$arilv   represent      those    of eME or
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                                Life is short .. So love your life .. Be happy .. And Keep smiling .. and


                                                                                             Before you speak »Listen
                                                                                              Before you write »Think
                                                                                              Before you spend »Earn
                                                                                             Before you pray »Forgive
                                                                                               Before you hurt »Feel
                                                                                               Before you hate» Love
                                                                                                Before you quit »Try
                                                                                                Before you die »Live

                                                                                                                  That's Life...




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From: Tomer Avnon [mailto:tomer@tarideal.com]
Sent: Monday, March 30, 2015 10:59 AM
To: 'Rami Ghanem'
Subject: MI24




Rami
We have 5 MI24 available
Price 5,155,000 per unit
EUCrequired
Delivery 4-8 weeks

Waiting for price & condition for the MI29

Tomer Avnon
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